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LANDWEHR LAW FIRM
ATTORNEYS AND COUNSELLORS AT LAW
. ~~ Suite s3s
935 Gravier Street
New Orleans, Louisiana 70112
MERRILL T. LANDWEHR TELEPHONE (504) 561-8086
DARRYL T. LANDWERR FACSIMILE (504) 561-8088
November 8, 2019
VIA FEDERAL EXPRESS
Clerk of Court
32™ Judicial District Court
Parish of Terrebonne

7856 Main St. b
Houma,LA70361 |<) ~ / Bie fy
Re: New Suit
Randy Leboeuf ys. Loren Hatle, Clean Metal Technologies, LLC and

MicroClean Metals, LLC
Our File No. 2190

Dear Sir/Madam:

Enclosed herewith please find the Petition to Enforce Promissory Notes, Security
Agreement and Commercial Guaranty Agreements, including four (4) copies thereof, for filing
with your office. Please return the copy to me stamped and dated for my file, utilizing the enclosed
self-addressed and stamped envelope.

Finally, a check in the amount of $425.00 is enclosed herewith to cover the filing fee.
Please also note that the three defendants are being served through the Louisiana Long Arm
Statute.

If anything further is needed, please advise.
Thank you for your assistance.

Sincerely yours,

Darryl T. Landwehr

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EXHIBIT “1”

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EXECUTION VERSION

MEMBERSHIP INTEREST PURCHASE AGREEMENT
by and among

Randy LeBoeuf,
as Seller

Loren L, Hatle,
as Buyer and Guarantor

Rocky Smith,
as Consenting Member

and

MicroClean Metals, LLC, and Clean Metal Technologies, L.L.C.
As Guarantors

Dated as of August 25, 2016

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MEMBERSHIP? INTEREST PURCHASE AGREEMENT

This MEMBERSHIP INTEREST PURCHASE AGREEMENT (herein, together
with the Schedules and Exhibits attached hereto, referred to as the “Agreement”), dated
as of August 25, 2016, is by and among Randy LeBoeuf, an individual (“Seller”), Loren
L. Hatle, an individual (“Buyer”), Rocky Smith, an individual (“Smith”), Clean Metal
Technologies, L.L.C., a Louisiana limited liability company (“Company”) and
MicroClean Metals, LLC, a Texas limited liability company (““MicroClean”). The Seller,
Buyer, Smith, Company and MicroClean are hereinafter together referred to as the
“Parties” and each individually as a “Party.”

RECITALS

WHEREAS, Buyer owns 49 Class A Company Units and 86 Class B Company
Units, and Mr, Rocky Smith (“Smith”) owns 45 Class B Company Units;

WHEREAS, Seller owns 51 Class A Company Units and 69 Class B Company
Units (the “Membership Interests”);

WHEREAS, the Company’s scope of business is the manufacturing and sale of
anti-corrosive products to several industries, including but not limited to the oil and gas
industry, the automotive industry, the cruise line industry and others (the “Business”);

WHEREAS, Seller wishes to sell to Buyer, and Buyer wishes to purchase from
Seller, the Membership Interests, subject to the terms and conditions set forth herein;

WHEREAS, to finance the transaction described herein, Buyer has caused
MicroClean to be formed, and revenue from MicroClean will be used to fund the
Deferred Purchase Price Consideration and Deferred Loan Repayment (as defined below
in Sections 1.02 and 1.04, respectively);

WHEREAS, Smith has consented to the sale and purchase of the Membership
Interests;

NOW, THEREFORE, in consideration of the mutual covenants and agreements
hereinafter set forth and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties hereto agree as follows:

ARTICLE I
PURCHASE AND SALE

Section 1,01 Purchase and Sale. Subject to the terms and conditions set forth
herein, at the Closing (as defined herein), Seller shall sell to Buyer, and Buyer shall
purchase from Seller, all of Seller’s right, title and interest in and to the Membership
Interests, free and clear of any mortgage, pledge, lien, charge, security interest, claim or
other encumbrance (“Encumbrance”), for the consideration specified in Section 1.02.

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Section 1.02 Purchase Price. The aggregate purchase price for the
Membership Interests shall be Eight Hundred Eighty Two Thousand U.S. Dollars
($882,000.00) (the ‘Purchase Price”). The Buyer shall pay the Purchase Price to Seller
subject to the terms and conditions set forth herein.

(a) Deferred Purchase Price Consideration. The $882,000.00 of the
Purchase Price shall be paid by Buyer to Seller as follows: (a) $82,000.00 within three (3)
months after Closing in a lump sum and (b) within eighteen (18) months after Closing, in
six (6) principal installment payments of $133,333.34, plus accrued interest every three
months until the balance is fully paid (the “Deferred Purchase Price Consideration”),
substantially in the form of the Promissory Note attached hereta as Exutsit A. The
Deferred Purchase Price Consideration shall bear an interest rate at the Bank Prime Rate,
as quoted in the Wall Street Journal, as of each payment due date, adjusted quarterly and
compounded annually, but in no event shall the interest rate exceed five percent (5%) per

annum.

Section 1.03 Repayment of Third Party Debt. At the Closing, Buyer shall
provide to the Company funds in the amount of $100,000.00 as working capital to be
immediately used to pay certain Company debt owed to third parties (“Third Party
Debt”). This shall be deemed a Capital Contribution, but it shall not change the
membership percentage interest of any member. This Third Party Debt is listed on
Schedule 1.03 attached hereto and the Parties acknowledge that this debt is valid and
outstanding Company debt. In addition to this $100,000, the Company has $10,197 in its
checking account to also apply to the payment of Third Party Debt.

Section 1.04 Deferred Loan Repayment. The Company shall repay Seller the
loan owed by the Company in the amount of $300,000.00 (“Deferred Loan
Repayment”) in six (6) principal installments of $50,000.00 each, plus accrued interest
every month, substantially in the form of the Promissory Note attached hereto as
Exuisit B. The Deferred Loan Repayment shall bear an interest rate at the Bank Prime
Rate, as quoted in the Wall Street Journal, as of each payment due date, adjusted
quarterly and compounded annually, but in no event shall the interest rate exceed five
percent (5%) per annum. The Parties acknowledge that this debt is valid and outstanding

Company debt.

Section 1.05 Subject Patent. The Deferred Purchase Price Consideration and
the Deferred Loan Repayment shall be secured by that certain (1) U.S. Patent Application
Serial Number 15/012,618 filed on February 1, 2016 entitled “Methods For Removal of
Reacting Sites On Metal Surfaces And Application Of A Nanotube Containing Protective
Coating” and in addition any other Patent Rights of Clean Metal owned as of the Closing;
as well as any continuations, continuations-in-part, division applications and any re-
examination or reissues thereof, and any foreign counterparts thereto; and (a) any
invention or discovery which is or was conceived and/or reduced to practice by Buyer,
individually or jointly with others, at any time prior to or while employed by the
Company and for a period of one year after the termination of the employment by Buyer
pursuant to a written assignment set forth in Section 7(1) of the Employment, Non-
Disclosure, Non-Compete, and Non-Solicitation Agreement executed on April 2, 2015,

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but made effective March 16, 2015 by and between Buyer and the Company, and (b) all
rights under the License Agreement (the “Subject Patent Rights”), substantially in the
form of a Security Agreement executed by and between Seller and Buyer, attached hereto
as EXHIBIT C (the “Security Agreement”).

Section 1.06 License Agreement. At Closing, the Company shall execute and
deliver a mutually agreeable exclusive license agreement (the “License Agreement”) to
MicroClean substantially in the form attached hereto as ExniBit D. The License
Agreement shall allow MicroClean to utilize the Subject Patent to generate the requisite
revenue to fund the Deferred Purchase Price Consideration and Deferred Loan
Repayment. The License Agreement shall be inferior in rank and subordinate to the

Security Agreement.

Section 1.07 Closing. The closing of the transactions contemplated by this
Agreement (the “Closing”) shall take place virtually, on August 25, 2016, or such other
time, date or place as Seller and Buyer may mutually agree upon in writing (the “Closing
Date”). The consummation of the transactions contemplated by this Agreement shall be
deemed to occur at 12:01 a.m. on the Closing Date.

Section 1.08 Transfer Taxes. Seller shall pay, and shall reimburse Buyer for,
any sales, use or transfer taxes, documentary charges, recording fees or similar taxes,
charges, fees or expenses, if any, that become due and payable as a result of the
transactions contemplated by this Agreement. Notwithstanding the foregoing, the Parties
agree that each Party shall sign appropriate documentation in order for any profits and
losses attributable to the Company’s operations in 2016 to be allocated to Seller up and
until the Closing Date.

Section 1.09 Withholding Taxes. Buyer and the Company shal] be entitled to
deduct and withhold from the Purchase Price all taxes that Buyer and the Company may
be required to deduct and withhold under any provision of tax law, All such withheld
amounts shall be treated as delivered to Seller hereunder.

ARTICLE I
REPRESENTATIONS AND WARRANTIES OF SELLER AND
COMPANY

Seller represents and warrants to Buyer that to Seller’s knowledge the statements
contained in this Article II are true and correct as of the date hereof. For purposes of this
Article II, “Seller’s knowledge,” “knowledge of Seller” and any similar phrases shall
mean the actual knowledge of Seller.

Section 2.01 Organization and Authority of Seller and Company;
Enforceability, Seller is an individual. The Company is a limited liability company
organized under the laws of the State of Louisiana, and is in good standing. Seller and
the Company have full corporate power and authority to enter into this Agreement and
the documents to be delivered hereunder, to carry out their obligations hereunder and to
consummate the transactions contemplated hereby. This Agreement and the documents to

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be delivered hereunder have been duly executed and delivered by Seller and the
Company (assuming due authorization, execution and delivery by Buyer and Smith), and
this Agreement and the documents to be delivered hereunder constitute legal, valid and
binding obligations of Seller, enforceable against Seller in accordance with their

respective terms,

Section 2.02 No Conflicts; Consents. Except as set forth in Schedule 2.02 the
execution, delivery and performance by Seller and the Company of this Agreement and
the documents to be delivered hereunder, and the consummation of the transactions
contemplated hereby, do not and will not: (a) violate or conflict with the certificate of
formation, Operating agreement (as defined herein) or other organizational documents of
the Company; (b) violate or conflict with any judgment, order, decree, statute, law,
ordinance, rule or regulation applicable to Seller, (c) conflict with, or result in (with or
without notice or lapse of time or both) any violation of, or default under, or give rise to a
right of termination, acceleration or modification of any obligation or loss of any benefit
under any contract or other instrument to which Seller is a party; (d) result in any
violation, conflict with or constitute a default under the Company’s organizational
documents or the Operating Agreement of the Company, dated March 16, 2015
(“Operating Agreement”); or (e) result in the creation or imposition of any
Encumbrance on the Membership Interests. Except as disclosed in Section 2.02 of the
Disclosure Schedules, no consent, approval, waiver or authorization is required to be
obtained by Seller from any person or entity (including any governmental authority) in
connection with the execution, delivery and performance by Seller of this Agreement and
the consummation of the transactions contemplated hereby.

Section 2.03 Legal Proceedings. There is no claim, action, suit, proceeding or
governmental investigation (“Action”) of any nature pending or, to Seller's knowledge,
threatened against or by Seller (a) relating to or affecting the Membership Interests; or (b)
that challenges or seeks to prevent, enjoin or otherwise delay the transactions
contemplated by this Agreement. No event has occurred or circumstances exist that may
give rise to, or serve as a basis for, any such Action,

Section 2.04 Financial Statements. True, correct and complete copies of the
unaudited balance sheet and statements of operations, members’ equity as historically
prepared by the Company as of and for the fiscal year ended 2015 and the Company's
unaudited balance sheet and statements of operations, members! equity as of and for the
seven months ended July 31, 2016 (collectively, the “Financial Statements”) are

attached as Schedule 2.04.
Section 2.05 Ownership of Membership Interests.

(a) Seller is the sole legal, beneficial, record and equitable owner of the
Membership Interests, free and clear of all Encumbrances whatsoever.

(b) The Membership Interests were issued in compliance with applicable
laws. The Membership Interests were not issued in violation of the organizational
documents of the Company or any other agreement, arrangement or commitment to

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which Seller or the Company is a party and are not subject to or in violation of any
preemptive or similar rights of any Person.

(c) Other than the organizational documents of the Company, there are no
voting trusts, proxies or other agreements or understandings in effect with respect to the
voting or transfer of any of the Membership Interests.

Section 2.06 Operating Agreement. Attached hereto as EXHIBIT E is the
Company’s Operating Agreement, which agreement is in full force and effect and is the
only agreement in effect with respect to the matters described therein.

Section 2.07 Brokers. No broker, finder or investment banker is entitled to any
brokerage, finder's or other fee or commission in connection with the transactions
contemplated by this Agreement based upon arrangements made by or on behalf of
Seller.

Section 2.08 Non-foreign Status. Seller is not a foreign person as such term is
used in Treasury Regulation Section 1.1445-2.

ARTICLE HI
REPRESENTATIONS AND WARRANTIES OF BUYER

Buyer represents and warrants to Scller that, to the Buyer’s knowledge the
statements contained in this Article HII are true and correct as of the date hereof. For
purposes of this Article HI, “Buyer’s knowledge,” “knowledge of Buyer” and any
similar phrases shall mean the actual knowledge of Buyer, after due inquiry.

Section 3.01 Organization and Authority of Buyer; Enforceability. Buyer is
an individual. Buyer has full corporate power and authority to enter into this Agreement
and the documents to be delivered hereunder, to carry out his obligations hereunder and
to consummate the transactions contemplated hereby. The execution, delivery and
performance by Buyer of this Agreement and the documents to be delivered hereunder
and the consummation of the transactions contemplated hereby have been duly
authorized by all requisite corporate action on the part of Buyer. This Agreement and the
documents to be delivered hereunder have been duly executed and delivered by Buyer,
and (assuming due authorization, execution and delivery by Seller) this Agreement and
the documents to be delivered hereunder constitute legal, valid and binding obligations of
Buyer enforceable against Buyer in accordance with their respective terms.

Section 3.02 No Conflicts; Consents. The execution, delivery and performance
by Buyer of this Agreement and the documents to be delivered hereunder, and the
consummation of the transactions contemplated hereby, do not and will not violate or
conflict with any judgment, order, decree, statute, law, ordinance, rule or regulation
applicable to Buyer. No consent, approval, waiver or authorization is required to be
obtained by Buyer from any person or entity (including any governmental authority) in

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connection with the execution, delivery and performance by Buyer of this Agreement and.
the consummation of the transactions contemplated hereby.

Section 3.03 Investment Purpose. Buyer is acquiring the Membership
Interests solely for its own account for investment purposes and not with a view to, or for
offer or sale in connection with, any distribution thereof, Buyer acknowledges that the
Membership Interests are not registered under the Securities Act of 1933, as amended, or
any state securities laws, and that the Membership Interests may not be transferred or
sold except pursuant to the registration provisions of the Securities Act of 1933, as
amended or pursuant to an applicable exemption therefrom and subject to state securities
laws and regulations, as applicable.

Section 3.04 Brokers. No broker, finder or investment banker is entitled to any
brokerage, finder's or other fee or commission in connection with the transactions
contemplated by this Agreement based upon arrangements made by or on behalf of
Buyer.

Section 3,05 Legal Proceedings. To Buyer's knowledge, there is no Action
pending, or threatened against, or by Buyer or any Affiliate of Buyer that challenges or
seeks to prevent, enjoin or otherwise delay the transactions contemplated by this
Agreement, To Buyer’s knowledge, no event has occurred or circumstances exist that
may give rise or serve as a basis for any such Action.

ARTICLE IV
CLOSING DELIVERIES

Section 4.01 Seller's Deliveries. At the Closing, Seller shall deliver to Buyer
the following (duly and fully executed, acknowledged and notarized as appropriate):

(a) A counterpart to the Security Agreement duly and fully executed by
Seller, Smith and the Company.

(b) The License Agreement duly and fully executed by the Company.

(c) A counterpart to the non-compete and non-solicitation agreement by and
between Seller and the Company, duly and fully executed by Seller (the “Non-compete
and Non-Solicitation Agreement”), attached hereto as EXHIBIT F.

(ad) A revised Members’ Exhibit A to the Operating Agreement reflecting the
Buyer’s purchase of the Membership Interests and ownership interest in the Company.

{e) A certificate, dated as of the Closing date, of Seller certifying as to the
representations and warranties of Article I.

(f) A certificate by a certifying official of the Company certifying as to (i) the
resolutions of the board of managers and members (or equivalent managing body) of the
Company, duly adopted and in effect, which authorize the execution, delivery and
performance of this Agreement and the transactions contemplated hereby, and (ii) the

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names and signatures of the Members of the Company authorized to sign this Agreement
and the documents to be delivered hereunder.

(g) A good standing certificate (or its equivalent) for the Company from the
Secretary of State of the State of Louisiana.

(h) _ Bill of Sale of Membership Interests.

(i) such other customary instruments of transfer, filings or documents, in
form and substance reasonably satisfactory to Buyer, as may be required to give effect to
this Agreement and all other agreements, documents, instruments or certificates required
to be delivered by Seller at or prior to the Closing pursuant to this Agreement.

Section 4,02 Buyer's Deliveries. At the Closing, Buyer shall deliver the
following to Seller (duly and fully executed, acknowledged and notarized as appropriate):

(a) | The Repayment of Third Party Debt.

(b) A counterpart to the Security Agreement duly and fully executed by
Buyer.

(ce) | A promissory note payable to Seller regarding the Deferred Purchase Price
Consideration, duly and fully executed by Buyer.

(d) A promissory note payable to Seller regarding Deferred Loan Repayment
payable, duly and fully executed by the Company,

(e) A personal guaranty in favor of Seller by Buyer, as a guarantor.
(f) A personal guaranty in favor of Seller by MicroClean, as a guarantor.
(g) A personal guaranty in favor of Seller by the Company, as a guarantor,

(h) Evidence of formation of MicroClean Metals, LLC, a Texas limited
liability company
@ Tax documents per Section 5.01 helow.

) A resolutions of the members (or equivalent managing body) of
MicroClean, duly adopted and in effect, which authorize the execution, delivery and
performance of this Agreement and the transactions contemplated hereby, including the
grant of MicroClean Guaranty.

ARTICLE V
TAX MATTERS

Section 5.01 Allocation of Company Income and Loss. Section 1377
election: Seller, Buyer and Smith elect under IRC 1377 to terminate the taxable year of

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the Company as of the Closing Date of this Agreement and to have IRC 1377 (a)(2)
applie as if the 2016 taxable year consisted of two taxable years, The Parties agree that
the Company and all Company’s members shall file the election under Section 1377 as
per Schedule 5.01, with the income tax return for the Company. At Closing, all
Company’s members shall execute appropriate documents.

ARTICLE V1
INDEMNIFICATION AND RELEASE OF CLAIMS

Section 6.01 Survival of Representations and Covenants. All
representations, warranties, covenants and agreements contained herein and all related
rights to indemnification shall survive the Closing.

Section 6,02 Indemnification By Seller. Subject to the other terms and
conditions of this Article VI, Seller shall defend, indemnify and hold harmless Buyer,
MicroClean, and the Company, its affiliates and their respective members, managers,
officers and employees from and against all claims, judgments, damages, liabilities,
settlements, losses, costs and expenses, including attorneys’ fees, other reasonable
expense of litigation and disbursements (a "Loss" or “Losses”), arising from or relating
to:

(a) any inaccuracy in or breach of any of the representations or warranties of
Seller contained in this Agreement or any document to be delivered hereunder; or

(b) any breach or non-fulfillment of any covenant, agreement or obligation to
be performed by Seller pursuant to this Agreement or any document to be delivered
hereunder.

Section 6.03 Indemnification By Buyer, the Company and MicroClean.
Subject to the other terms and conditions of this Article VI, Buyer, the Company and
MicroClean shall defend, indemnify and hold harmless Seller from and against all Losses
arising from or relating to:

(a) any inaccuracy in or breach of any of the representations or warranties of
Buyer contained in this Agreement or any document to be delivered hereunder; or

(b) any breach or non-fulfillment of any covenant, agreement or obligation to
be performed by Buyer pursuant to this Agreement or any document to be delivered
hereunder.

(c) any claims that may be asserted against Seller by anyone relating to the
Subject Patent Rights, and any related intellectual property, including but not limited to
any infringement claims, co-inventorship claims, ownership claims, unfair trade practice
or unfair competition related to the Subject Patent Rights or relating to the Company and
his ownership and activities for the Company, including claims raised by third parties that
patents resulting from pledged intellectual property are invalid resulting from fraud on
the patent office or anti-trust claims based on attempting to enforce fraudulently obtained
patent including in pledged intellectual property.

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Section 6.04 Indemnification Procedures. Whenever any claim shall arise for
indemnification hereunder, the Party entitled to indemnification (the “Indemnified
Party") shall promptly provide written notice of such claim to the other Party (the
"Indemnifying Party"). In connection with any claim giving rise to indemnity hereunder
resulting from or arising out of any Action by a person or entity who is not a Party to this
Agreement, the Indemnifying Party, at its sole cost and expense and upon written notice
to the Indemnified Party, may assume the defense of any such Action with counsel
reasonably satisfactory to the Indemnified Party. The Indemnified Party shall be entitled
to participate in the defense of any such Action, with its counsel and at its own cost and
expense. If the Indemnifying Party does not assume the defense of any such Action, the
Indemnified Party may, but shall not be obligated to, defend against such Action in such
manner as it may deem appropriate, including, but not limited to, settling such Action,
after giving notice of it to the Indemnifying Party, on such terms as the Indemnified Party
may deem appropriate and no action taken by the Indemnified Party in accordance with
such defense and settlement shall relieve the Indemnifying Party of its indemnification
obligations herein provided with respect to any damages resulting therefrom. The
Indemnifying Party shall not settle any Action without the Indemnified Party's prior
written consent (which consent shall not be unreasonably withheld or delayed).

Section 6,05 Payments, Once a Loss is agreed to by the Indemnifying Party or
finally adjudicated to be payable pursuant to this Article VI, the Indemnifying Party shall
satisfy its obligations within fifteen (15) Business Days of such final, non-appealable
adjudication by wire transfer of immediately available funds. The Parties hereto agree
that should an Indemnifying Party not make full payment of any such obligations within
such fifteen (15) Business Day period, any amount payable shall accrue interest from and
including the date of agreemeni of the Indemnifying Party or final, non-appealable
adjudication to the date such payment has been made at a rate per annum equal to five
percent. Such interest shall be calculated daily on the basis of a 365 day year and the
actual number of days elapsed,

Section 6.06 Tax Treatment of Indemnification Payments. All
indemnification payments made under this Agreement shall be treated by the Parties as
an adjustment to the Purchase Price for Tax purposes, unless otherwise required by law.

Section 6.07 Effect of Investigation. Buyer's right to indemnification or other
remedy based on the representations, warranties, covenants and agreements of Seller
contained herein will not be affected by any investigation conducted by Buyer with
respect to, or any knowledge acquired by Buyer at any time, with respect to the accuracy
or inaccuracy of or compliance with, any such representation, warranty, covenant or
agreement, except for actual knowledge of Buyer prior to Closing.

Section 6.08 Cumulative Remedies. The rights and remedies provided in this
Article VI are cumulative and are in addition to and not in substitution for any other
rights and remedies available at law or in equity or otherwise,

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Section 6.09 RELEASE. THE PARTIES AGREE THAT, EFFECTIVE AS OF
THE CLOSING DATE, EACH PARTY SHALL RELEASE ANY AND ALL KNOWN
OR UNKNOWN CLAIMS THAT THE PARTIES MAY OR COULD HAVE AGAINST
EACH OTHER FOR ANY ACTS, OMISSIONS, OR EVENTS THAT OCCURRED
PRIOR TO THE CLOSING DATE. IN CONSIDERATION OF THE COVENANTS,
AGREEMENTS AND UNDERTAKINGS OF THE PARTIES UNDER THIS
AGREEMENT, EACH PARTY, ON BEHALF OF HIMSELF, ITSELF AND HIS/ITS
RESPECTIVE PRESENT AND FORMER PARENTS, SUBSIDIARIES, AFFILIATES,
OFFICERS, DIRECTORS, SHAREHOLDERS, MEMBERS, SUCCESSORS, AND
ASSIGNS (COLLECTIVELY, "RELEASORS") HEREBY RELEASES, WAIVES,
AND FOREVER DISCHARGES EACH OTHER PARTY AND HIS/ITS RESPECTIVE
PRESENT AND FORMER, DIRECT AND INDIRECT, PARENTS, SUBSIDIARIES,
AFFILIATES, EMPLOYEES, OFFICERS, DIRECTORS, SHAREHOLDERS,
MEMBERS, AGENTS, REPRESENTATIVES, PERMITTED SUCCESSORS, AND
PERMITTED ASSIGNS (COLLECTIVELY, "RELEASEES") OF AND FROM ANY
AND ALL ACTIONS, CAUSES OF ACTION, SUITS, LOSSES, LIABILITIES,
RIGHTS, DEBTS, DUES, SUMS OF MONEY, ACCOUNTS, RECKONINGS,
OBLIGATIONS, COSTS, EXPENSES, LIENS, BONDS, BILLS, SPECIALTIES,
COVENANTS, CONTRACTS, CONTROVERSIES, AGREEMENTS, PROMISES,
VARIANCES, TRESPASSES, DAMAGES, JUDGMENTS, EXTENTS,
EXECUTIONS, CLAIMS, AND DEMANDS, OF EVERY KIND AND NATURE
WHATSOEVER, WHETHER NOW KNOWN OR UNKNOWN, FORESEEN OR
UNFORESEEN, MATURED OR UNMATURED, SUSPECTED OR UNSUSPECTED,
IN LAW, OR EQUITY, UNDER ANY THEORY OF LAW OR ANY REMEDY
(COLLECTIVELY, "CLAIMS"), WHICH ANY OF SUCH RELEASORS EVER HAD,
NOW HAVE, OR HEREAFTER CAN, SHALL, OR MAY HAVE AGAINST ANY OF
SUCH RELEASEES FOR, UPON, OR BY REASON OF ANY MATTER, CAUSE, OR
THING WHATSOEVER FROM THE BEGINNING OF TIME THROUGH THE DATE
OF THIS AGREEMENT, EXCEPT FOR ANY SURVIVING OBLIGATIONS UNDER
THIS AGREEMENT AND CLAIMS RELATING TO RIGHTS AND OBLIGATIONS
PRESERVED BY, CREATED BY OR OTHERWISE ARISING OUT OF THIS
AGREEMENT. THIS RELEASE SHALL BE EFFECTIVE UPON CONSUMMATION
OF THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT.

ARTICLE VII
MISCELLANEOUS

Section 7.01 Expenses. All costs and expenses incurred in connection with this
Agreement and the transactions contemplated hereby shall be paid by the Party incurring
such costs and expenses.

Section 7.02 Further Assurances. Following the Closing, each of the Parties
hereto shall, and shall cause their respective Affiliates to, execute and deliver such
additional documents, instruments, conveyances and assurances and take such further

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actions as may be reasonably required to carry out the provisions hereof and give effect
to the transactions contemplated by this Agreement.

Section 7.03 Notices. All notices, requests, consents, claims, demands, waivers
and other communications hereunder shall be in writing and shall be deemed to have
been given (a) when delivered by hand (with written confirmation of receipt); (b) when
received by the addressee if sent by a nationally recognized overnight courier (receipt
requested); (c) on the date sent by facsimile or e-mail of a PDF document (with
confirmation of transmission) if sent during normal business hours of the recipient, and
on the next Business Day if sent after normal business hours of the recipient or (d) on the
[third] day after the date mailed, by certified or registered mail, return receipt requested,
postage prepaid. Such communications must be sent to the respective Parties at the
following addresses (or at such other address for a Party as shall be specified in a notice
given in accordance with this Section 7,03):

If to Seller: Randy LeBoeuf
139 Bocage Drive
Houma, Louisiana 70360

with a copy to: Duval, Funderburk, Sundbery, Lovell &
Watkins

Attn: Sidney Sundbery
10] Wilson Avenue
Houma, LA 70364-3137

sid@duvallawfirm.com

If to Buyer: Loren L. Hatle
21122 Grandin Wood Ct.
Humble, Texas 77338
with a copy to: Seyfarth Shaw LLP

Attn: Cleve J, Glenn
700 Milam Street, Suite 1400
Houston, Texas 77002

eglenn@seyfarth.com

Section 7.04 Headings. The headings in this Agreement are for reference only
and shall not affect the interpretation of this Agreement.

Section 7,05 Severability. If any term or provision of this Agreement is
invalid, illegal or unenforceable in any jurisdiction, such invalidity, illegality or
unenforceability shall not affect any other term or provision of this Agreement or
invalidate or render unenforceable such term or provision in any other jurisdiction. Upon
such determination that any term or other provision is invalid, illegal or unenforceable,
the Parties hereto shall negotiate in good faith to modify the Agreement so as to effect the

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original intent of the Parties as closely as possible in a mutually acceptable manner in
order that the transactions contemplated hereby be consummated as originally
contemplated to the greatest extent possible.

Section 7.06 Entire Agreement. This Agreement and the documents to be
delivered hereunder, including the above Recitals and attached Exhibits, constitute the
sole and entire agreement of the Parties to this Agreement with respect to the subject
matter contained herein, and supersede all prior and contemporaneous understandings
and agreements, both written and oral, with respect to such subject matter. In the event of
any inconsistency between the statements in the body of this Agreement and those in
documents to be delivered hereunder, the Exhibits and Disclosure Schedules (other than
an exception expressly set forth as such in the Disclosure Schedules), the statements in
the body of this Agreement will control.

Section 7.07 Successors and Assigns. This Agreement shall be binding upon
and shall inure to the benefit of the Parties hereto and their respective successors and
permitted assigns. Neither Party may assign its rights or obligations hereunder without
the prior written consent of the other Party, which consent shall not be unreasonably
withheld or delayed. No assignment shall relieve the assigning Party of any of its
obligations hereunder.

Section 7.08 Ne Third-Party Beneficiaries. Except as provided in Article VI,
this Agreement is for the sole benefit of the Parties hereto and their respective successors
and permitted assigns and nothing herein, express or implied, is intended to or shall
confer upon any other Person or entity any legal or equitable right, benefit or remedy of
any nature whatsoever under or by reason of this Agreement.

Section 7.69 Amendment and Modification. This Agreement may only be
amended, modified or supplemented by an agreement in writing signed by each Party
hereto.

Section 7.10 Waiver. No waiver by any Party of any of the provisions hereof
shall be effective unless explicitly set forth in writing and signed by the Party so waiving.
No waiver by any Party shall operate or be construed as a waiver in respect of any failure,
breach or default not expressly identified by such written waiver, whether of a similar or
different character, and whether occurring before or after that waiver. No failure to
exercise, or delay in exercising, any right, remedy, power or privilege arising from this
Agreement shall operate or be construed as a waiver thereof; nor shall any single or
partial exercise of any right, remedy, power or privilege hereunder preclude any other or
farther exercise thereof or the exercise of any other right, remedy, power or privilege.

Section 7.11 Governing Law.

(a) Party Proceedings. The Parties agree that the exclusive jurisdiction and
yenue to resolve any disputes related solely to this Agreement (and
ancillary documents, including the promissory notes, the Security
Agreement, any guarantees and any indemnities) shall be exclusively held

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and prosecuted in the 32™ Judicial District Court, Terrebonne Parish,
Louisiana. Likewise, the governing law for any disputes related solely to
this Agreement (and ancillary documents, including the promissory notes,
the Security Agreement, any guarantees and any indemnities) shall be
Louisiana without giving effect to any choice or conflict of law provision
or rule (whether of the State of Louisiana or any other jurisdiction) that
could cause the application of laws of any jurisdiction other than those of
the State of Louisiana.

(b) Third Party Proceedings. The Parties agree that the exclusive jurisdiction
and venue for any legal proceedings commenced by third parties (or
commenced by Seller, the Company or MicroClean against any third
parties) related in any manner to this Agreement (and ancillary documents,
including the promissory notes, the Security Agreement, any guarantees
and any indemnities) shall be Harris County, Texas. Likewise, the
governing law for any legal proceedings commenced by third parties (or
commenced by Seller, the Company or MicroClean against any third
parties) related in any manner to this Agreement (and ancillary documents,
including the promissory notes, the Security Agreement, any guarantees
and any indemnities) shall be Texas without giving effect to any choice or
conflict of law provision or rule (whether of the State of Texas or any
other jurisdiction) that could cause the application of laws of any
jurisdiction other than those of the State of Texas.

Section 7.12 Specific Performance. The Parties agree that irreparable damage
would occur if any provision of this Agreement were not performed in accordance with
the terms hereof and that the Parties shall be entitled to specific performance of the terms
hereof, in addition to any other remedy to which they are entitled at law or in equity.
Each Party hereto (i) agrees that it shall not oppose the granting of such specific
performance or relief and (ii) hereby irrevocably waives any requirements for the security
or posting of any bond in connection with such relief.

Section 7.13 Counterparts. This Agreement may be executed in counterparts,
each of which shall be deemed an original, but all of which together shall be deemed to
be one and the same agreement. A signed copy of this Agreement delivered by facsimile,
e-mail or other means of electronic transmission shall be deemed to have the same legal
effect as delivery of an original signed copy of this Agreement.

Section 7.14 Survival. Articles Il, UI, VI and VII of this Agreement, and
Exhibits A, B, C, D, E and F, and Schedule 5.01 of this Agreement shall survive any
expiration or termination of this Agreement.

Section 7.15 Recital and Exhibits. The above Recitals and attached Exhibits
are incorporated and made a material part of this Agreement.

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Section 7.16 Confidentiality. From and after the Closing, Seller and Smith,
each individually, shall use his/its reasonable best efforts to hold, or cause their
respective representatives to hold, in confidence any and all information, whether written
or oral, concerning the Company, MicroClean and/or this Agreement, except to the extent
that Seller can show that such information (a) is generally available to and known by the
public through no fault of Seller or Smith, any of its their respective representatives; or
(b) is lawfully acquired by Seller or Smith, or any their respective Representatives, from
and after the Closing from sources which are not prohibited from disclosing such
information by a legal, contractual or fiduciary obligation. If Seller or Smith, or any of
their respective representatives are compelled to disclose any information by judicial or
administrative process or by other requirements of law, Seller and Smith shall promptly
notify Buyer in writing and shall disclose only that portion of such information which
Seller and Smith are advised by their counsel in writing is legally required to be
disclosed, provided that Seller and Smith shall use reasonable best efforts to cooperate
with Buyer, Company and MicroClean should they elect at their expense to obtain an
appropriate protective order or other reasonable assurance that confidential treatment will
be accorded such information. In addition, each Party agrees that following Closing, he/it
shall not make any derogatory comments to anyone concerning any other Party to this

Agreement,

Section 7.17 Smith Consent. Smith consents to the terms and conditions of this
Agreement.

Section 7.18 Patent Prosecution and Maintenance. Company, Buyer and
MicroClean, at their expense, shall prosecute all pending patent applications relating to
the Subject Patents, including, but not limited to the 618 Application and any and all,
continuations, continuations-in-part, divisionals, reissues and foreign counterparts thereof
and shall maintain any Subject Patents, including, among other things, the payment of
maintenance fees that become due. This obligation shall remain until the Deferred
Purchase Price Consideration and Deferred Loan Repayment are paid in full,

[SIGNATURE PAGE FOLLOWS]

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IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be
executed as of the date first written above by their respective officers thereunto duly
authorized.

SELLER:

Randy a6. ad Caw

BUYER:

Loren L. Hatle, Individually

GUARANTORS:

MicroClean Metals, LLC

By:
Name:

Title:

Clean Metal Technologies, L.L.C.

Title:

 

CONSENTING MEMBER:

Rocky Smith, Individually

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IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be
executed as of the date first written above by their respective officers thereunto duly
authorized.

SELLER:

BUYER:

ree Ltn

Loren L. Hatle, Individually

GUARANTORS:

MicroClean Metals, LLC

 

 

Clean Metal Technologies, L.L.C,

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Name: a le
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CONSENTING MEMBER:

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EXECUTION VERSION

IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be
executed as of the date first written above by their respective officers thereunto duly
authorized,

SELLER:

Randy LeBoeuf, Individually

BUYER:

  

Loren L. Hatle, ‘ndividally

GUARANTORS:

MicroClean Metals, LLC

  

 

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Clean Metal T Pit Lae,

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CONSENTING MEMBER:
Dacusigned by:

Rocky Smith, Individually

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EXHIBIT A
Form of Promissory Note
for the
Deferred Purchase Price Consideration

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DEFERRED PURCHASE PRICE CONSIDERATION NOTE
$882,000.00 August 25, 2016

FOR VALUE RECEIVED, the undersigned, jointly, severally and in solido, promise to pay
to the order of RANDY P, LeBOEUF (“PAYEE”), his successors or assigns, at Houma, Louisiana,
or at such other place as the holder of this Note may from time to time designate in writing, in lawful
money of the United States of America, the principal sum of EIGHT HUNDRED EIGHTY-TWO
THOUSAND AND NO/100 ($882,000.00) DOLLARS, plus interest per annum until paid in full at
the rate of the Bank Prime Rate as quoted in the Wall Street Journal on each installment due date.
Such interest shall in no event exceed five percent (5%) per annum.

This note shall be repayable as follows:

1, A principal payment of Eighty-two Thousand and No/100 ($82,000.00) Dotlars plus
accrued interest which shall not exceed five (5%) percent per annum, payable on November 25,
2016.

2. Six (6) consecutive quarterly payments of principal in the amount of One Hundred
Thirty-Three Thousand Three Hundred Thirty-Three And 34/100 ($133,333.34) Dollars each, plus
accrued interest which shall not exceed five percent (5%) per annum, commencing on the 25" day of
November, 2016 and continuing on the same day of each third month thereafter until paid in full,

Each of the following constitutes an event of default (“Event of Default”) under this Note:
The Maker hereof fails to make any payment when due under this Note; Maker or any guarantor fails
to comply with any terms or conditions or defaults under, any security agreement, instrument,

document, guaranty or other agreement that may directly or indirectly secure repayment of this Note;

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bankruptcy, insolvency, dissolution or appointment of a liquidator, reorganization or similar
proceedings are brought by or against Maker or any guarantor; death of Maker; or Clean Metal
Technologies, L.L.C. defaults on the $300,000 Note it signed as maker in favor of Randy P.
LeBoeuf as Payee on August 25, 2016.

It is expressly agreed that time is of the essence, and in the event of the occurrence of any
Event of Default as described above, or in the event of failure of Maker to perform and comply with
any and all of the other covenants, terms and provisions of this Note or of any instrument now or
hereafter securing the indebtedness evidenced hereby, then in any of said events the principal sum
and any other sums required to be paid by this Note or by any such instrument, together with all
unpaid interest, shall be at once due and payable at the option of the holder hereof, his successors or
assigns, and shall be collectible without further notice. Any failure to exercise said option or any
other applicable rights shall not constitute a waiver of the right to exercise the same at any other
time.

If this Note is placed in the hands of an attorney for any reason to enforce collection, or if this
Note is collected by legal proceedings or through the probate or bankruptcy courts, or under any state
insolvency proceeding, or under foreclosure proceedings under any instrument securing this Note,
then all costs and the fees of the attorney who may be so employed, which fees are hereby fixed at
twenty-five (25%) percent of the amount then due and exigible, plus costs and expenses shall be
added thereto and be collectible by the holder hereof.

Any and all homestead and exemption laws and rights, including any valuation or
appraisement rights, available to any of the undersigned pursuant to the Constitution or laws of any

state, territory or jurisdiction, or of the United States of America, against the collection of this

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indebtedness or any renewal thereof, or against the enforcement of any lien or assignment securing
such indebtedness, are hereby expressly waived.

The makers, endorsers, guarantors and other parties secondarily liable upon this Note hereby
severally waive demand, presentment for payment, notice of dishonor and protest, and consent that
the maturity hereof may be extended without notice and expressly agree jointly and severally to
remain and continue bound for the payment of the principal and interest provided for by the terms of
this Note notwithstanding any extension or extensions of the time of, or for the payment of said
principal or interest, or any change or changes in the amount or amounts agreed to be paid under and
by virtue of the obligation to pay provided for in this Note, or any change or changes by way of
release or surrender of any property or rights to property held as security for this Note. They waive
all and every kind of notice of such extension or extensions, change or changes and agree that the
same may be made without the joinder of any of the Makers, the endorsers, guarantors, or other
parties secondarily liable upon, this Note,

This Note and the indebtedness represented thereby shall be construed pursuant to the laws of
the State of LOUISIANA, without regard to its conflicts of laws provision.

The Maker hereof shall have the right to prepay the indebtedness evidenced by this Note, in
whole or in part, at any time without penalty.

Any action or proceedings pertaining to this Note, the underlying obligations, including but
not limited to the enforcement or collection hereof, and any actions to enforce any security securing
this Note shall be brought exclusively in the 32™ Judicial District Court, Terrebonne Parish,
Louisiana. The Maker expressly consents to the personal jurisdiction and venue of that Court.

The Note is secured by: (1) Security Agreement dated August 25, 2016, executed by Randy

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P. LeBoeuf'as Secured Party, by Clean Metal Technologies, L.L.C. as Grantor and as Loren L. Hatle;
and (2) Commercial Guaranty dated August 25, 2016, executed by Clean Metal Technologies, L.L.C.
and MicroClean Metals, L.L.C. as Guarantors.

Any notice to the Maker required hereunder or under any applicable law shall be deemed
made and delivered 48 hours after posting in U.S, Mail by certified mail addressed to the following
address or such other address as Maker may hereafter designate in writing:

Loren L. Hatle

21122 Grandin Wood Ct.

Humble, Texas 77338

IN WITNESS WHEREOF, the undersigned have set their hands and affixed their seals, on

the day and year first above written.

fF atk

LOREN L. HATLE, Maker

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Exhibit B
Form of Promissory Note
for the
Deferred Loan Repayment

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DEFERRED LOAN REPAYMENT NOTE
$300,000.00 August 25, 2016

FOR VALUE RECEIVED, the undersigned, jointly, severally and in solido, promise to pay
to the order of RANDY P. LEeBOEUF (“PAYEE”), his successors or assigns, at Houma, Louisiana,
or at such other place as the holder of this Note may from time to time designate in writing, in lawful
money of the United States of America, the principal sum of THREE HUNDRED THOUSAND
AND NO/100 ($300,000.00) DOLLARS, plus interest per annum until paid in full at the rate of the
Bank Prime Rate as quoted in the Wall Street Journal on each installment due date. Such interest
shall in no event exceed five percent (5%) per annum.

This note shall be repayable in six (6) consecutive quarterly installments of principal in the
amount of Fifty Thousand And 00/100 ($50,000.00) Dollars each, plus accrued interest. which shall
not exceed five percent (5%) per annum, commencing on the 25" day of November, 2016 and
continuing on the same day of each third month thereafter until paid in full.

Each of the following constitutes an event of default (“Event of Default”) under this Note:
The Maker hereof fails to make any payment when due under this Note; Maker or any guarantor fails
to comply with any terms or conditions or defaults under, any security agreement, instrument,
document, guaranty or other agreement that may directly or indirectly secure repayment of this Note;
bankruptcy, insolvency, dissolution or appointment of a liquidator, reorganization or similar
proceedings are brought by or against Maker or any guarantor; death of Maker; or Loren L. Hatle
defaults on the $882,000 Note he signed as marker in favor of Randy P, LeBoeuf as Payee on

August 25, 2016.

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It is expressly agreed that time is of the essence, and in the event of the occurrence of any
Event of Default as described above, or in the event of failure of Maker to perform and comply with
any and all of the other covenants, terms and provisions of this Note or of any instrument now or
hereafter securing the indebtedness evidenced hereby, then in any of said events the principal sum
and any other sums required to be paid by this Note or by any such instrument, together with all
unpaid interest, shall be at once due and payable at the option of the holder hereof, his successors or
assigns, and shall be collectible without further notice. Any failure to exercise said option or any
other applicable rights shall not constitute a waiver of the right to exercise the same at any other
time.

If this Note is placed in the hands of an attorney for any reason to enforce collection, or if this
Note is collected by legal proceedings or through the probate or bankruptcy courts, or under any state
insolvency proceeding, or under foreclosure proceedings under any instrument securing this Note,
then all costs and the fees of the attorney who may be so employed, which fees are hereby fixed at
twenty-five (25%) percent of the amount then due and exigible, plus costs and expenses shall be
added thereto and be collectible by the holder hereof.

Any and all homestead and exemption laws and rights, including any valuation or
appraisement rights, available to any of the undersigned pursuant to the Constitution or laws of any
state, territory or jurisdiction, or of the United States of America, against the collection of this
indebtedness or any renewal thereof, or against the enforcement of any lien or assignment securing
such indebtedness, are hereby expressly waived.

The makers, endorsers, guarantors and other parties secondarily liable upon this Note hereby

severally waive demand, presentment for payment, notice of dishonor and protest, and consent that

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the maturity hereof may be extended without notice and expressly agree jointly and severally to
remain and continue bound for the payment of the principal and interest provided for by the terms of
this Note notwithstanding any extension or extensions of the time of, or for the payment of said
principal or interest, or any change or changes in the amount or amounts agreed to be paid under and
by virtue of the obligation to pay provided for in this Note, or any change or changes by way of
release or surrender of any property or rights to property held as security for this Note. They waive
al] and every kind of notice of such extension or extensions, change or changes and agree that the
same may be made without the joinder of any of the Makers, the endorsers, guarantors, or other
parties secondarily liable upon, this Note.

This Note and the indebtedness represented thereby shall be construed pursuant to the laws of
the State of LOUISIANA, without regard to its conflicts of laws provision.

The Maker hereof shall have the right to prepay the indebtedness evidenced by this Note, in
whole or in part, at any time without penalty.

Any action or proceedings pertaining to this Note, the underlying obligations, including but
not limited to the enforcement or collection hereof, and any actions to enforce any security securing
this Note shall be brought exclusively in the 32 Judicial District Court, Terrebonne Parish,
Louisiana. The Maker expressly consents to the personal jurisdiction and venue of that Court.

The Note is secured by (1) Security Agreement dated August 25, 2016, executed by Randy P.
LeBoeuf as Secured Party, by Clean Metal Technologies, L.L.C. as Grantor and Debtor

Any notice to the Maker required hereunder or under any applicable law shall be deemed
made and delivered 48 hours after posting in U.S. Mail by certified mail addressed to the following

address or such other address as Maker may hereafter designate in writing:

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Loren L. Hatle
21122 Grandin Wood Ct.
Humble, Texas 77338

IN WITNESS WHEREOEF, the undersigned have set their hands and affixed their seals, on

the day and year first above written.

CLEAN METAL TECHNOLOGIES, L.L.C.

nm Clr Le

~LOREN L. HATLE, Class A & Class B
Member

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